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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA
______________________________
                               )
AMERICAN IMMIGRATION           )
COUNCIL,                       )
                               )
                  Plaintiff,   )
                               )
                  v.           )   Civil Action No. 18-1390 (RDM)
                               )
U.S. DEPARTMENT OF             )
HOMELAND SECURITY, et al., )
                               )
                               )
                Defendants.    )
_____________________________ )

                                   JOINT STATUS REPORT

       Pursuant to this Court’s Order dated September 6, 2018, the parties report the following

status in this Freedom of Information Act case. Defendants are in the process of conducting a

search for responsive documents. To date defendants have located approximately 5,000 potentially

responsive documents. Defendants have not yet produced these documents to plaintiff.

       On September 13, 2018, plaintiff provided defendants with some suggested search terms,

which defendants are considering, given that defendants’ broad search terms may have located

more records than are responsive. The parties will continue to confer as the search progresses.

       Defendants currently estimate that they need an additional 30 days to complete their

searches. At that point, defendants will know the universe of potentially responsive documents,

and may be able to narrow the documents in need of processing after consultation with plaintiff.

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      Accordingly, the parties suggest that they file a further joint status report on or before

November 30, 2018.

                                             Respectfully submitted,

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                                             for the District of Columbia

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                                             Chief, Civil Division

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                                          ATTESTATION

       I hereby attest that the other signatories listed, on whose behalf this filing is submitted,

concur in the filing’s content and have authorized the filing.


 Dated: October 11, 2018                         DIMITRI D. PORTNOI
                                                 O’MELVENY & MYERS LLP



                                                 By:     /s/ Dimitri D. Portnoi
                                                         Dimitri D. Portnoi



                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 11th day of October 2018, a true and correct copy of the

foregoing was served via the Court’s electronic filing system on:
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